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                                UNITED STATES BANKRUPTCY COURT                              SF00100 (rev 11/2010)
                                      Southern District of Indiana
                                      121 W. Spring St., Rm. 110
                                        New Albany, IN 47150
In re:

Eastern Livestock Co., LLC,                                      Case No. 10−93904−BHL−11
             Debtor(s).

                                                     NOTICE

A(n) Application to Employ was filed with the Clerk of Court on June 24, 2013, by Trustee James
A. Knauer.
         Trustee seeks to employ Philip L. Kunkel as mediator.

NOTICE IS GIVEN that any objection to the relief requested in the above−referenced document
must be filed at http://ecf.insb.uscourts.gov which requires a user account and password or in
writing with the Clerk's Office in accordance with S.D.Ind. B−9013−1(d). Any objection must be
served on the attorney for the filing party and filed by July 16, 2013.

If no objections are filed, the Court may enter an appropriate order granting the relief requested
and such other related relief as may be required without conducting an actual hearing.

The document referenced above is available at http://pacer.insb.uscourts.gov, or it may be
requested from the filer.

Dated: June 25, 2013                                       Kevin P. Dempsey
                                                           Clerk, U.S. Bankruptcy Court
